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IN THE UNITED STATES DISTRICT COURT LE
WESTERN DISTRICT OF ARKANSAS Lo,,. UL 2 7
FORT SMITH DIVISION By Clas ~? Bap
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UNITED STATES OF AMERICA ) ve
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)  CaseNo. 2° LOCLAWIS -CO |
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v. ) 18 U.S.C. § 922(g)(8)
) 18 U.S.C. § 922(0)
) 18 U.S.C. § 924(a)(2)
) 26 U.S.C. § 5845(a)(7)
JASON D’JUAN GARFIELD ) 26 U.S.C. § 5861(d)
) 26 U.S.C. § 5871
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about the 12th day of March, 2020, in the Western District of Arkansas, Fort Smith
Division, the Defendant, JASON D’ JUAN GARFIELD, did knowingly possess any one of the
following machineguns: a Brownell Inc., model BRN-4, 5.56 caliber, M-16-type firearm, serial
number 4-2057; an Anderson Manufacturing, model AM-15, M-16-type receiver, serial number
18140943; and a Flat Rock Arms, model FRA-15, 5.56 caliber, M-16-type receiver, serial number
FRA-00053.

All in violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).

COUNT TWO

On or about the 12th day of March, 2020, in the Western District of Arkansas, Fort Smith
Division, the Defendant, JASON D’JUAN GARFIELD, did knowingly possess a device for
silencing, muffling, or diminishing the report of a portable firearm, that is a metal cylindrical

device, black in color with no markings, that was not registered to JASON D’ JUAN GARFIELD
in the National Firearms Registration and Transfer Record.

All in violation of Title 26, United States Code, Sections 5845(a)(7), 5861(d) and 5871.

COUNT THREE

On or about the 12th day of March, 2020, in the Western District of Arkansas, Fort Smith
Division, the Defendant, JASON D’JUAN GARFIELD, knowing that he was subject to a court
order issued by the Johnson County, Arkansas Circuit Court on December 16, 2015, in case
number 36 DR-15-279, and issued after a hearing of which he received actual notice, and at which
he had an opportunity to participate, restraining him from harassing, stalking, or threatening an
intimate partner and restraining him from engaging in other conduct that would place an intimate
partner in reasonable fear of bodily injury to the partner, did knowingly possess any one of the
following firearms: a Glock, model 17, 9mm caliber pistol, serial number BLUZ319; an Oviedo,
model 1976, 7mm caliber rifle, serial number 1775; a FNH, model FNX-45, serial number
FX3U026558; a Savage, model MS-AR 15, .223 caliber rifle, serial number 03-003438; a Mauser,
model Argentino 1891, 7.65 caliber rifle, serial number $9247; and a Colt, model Delta Elite, .45
caliber pistol, serial number DE01003E, said firearms having been shipped and transported in
interstate commerce.

All in violation of Title 18, United States Code, Sections 922(g)(8) and 924(a)(2).

FORFEITURE ALLEGATION
Possession of Machineguns and Possession of by a Prohibited Person

1. The allegations contained in Counts One and Three of this Indictment are hereby
re-alleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title
18, United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

2. Upon conviction of the offenses in violation of Title 18, United States Code,
Sections 922(g)(8) and 922(o) set forth in Counts One and Three of this Indictment, the Defendant,
JASON D’JUAN GARFIELD, shall forfeit to the United States pursuant to Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearms and
ammunition involved in the commission of the offenses, including, but not limited to:

a. a Brownell Inc., model BRN-4, 5.56 caliber, M-16-type firearm, serial
number 4-2057;

b. an Anderson Manufacturing, model AM-15, M-16-type receiver, serial
number 18140943;

Cc. a Flat Rock Arms, model FRA-15, 5.56 caliber, M-16-type receiver, serial
number FRA-00053;

d. a Glock, model 17, 9mm caliber pistol, serial number BLUZ319;

e. an Oviedo, model 1976, 7mm caliber rifle, serial number 1775;

f. a FNH, model FNX-45, serial number FX3U026558;

g. a Savage, model MS-AR 15, .223 caliber rifle, serial number 03-003438;

h. a Mauser, model Argentino 1891, 7.65 caliber rifle, serial number $9247;

i. a Colt, model Delta Elite, .45 caliber pistol, serial number DEO1003E; and

j: ammunition seized from JASON D’ JUAN GARFIELD’s residence on or

about March 12, 2020.

3. If any of the property described above, as a result of any act or omission of the
Defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e, has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).
All pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).
Possession of an Unregistered Silencer

1. The allegations contained in Count Two of this Indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 26, United
States Code, Section 5872(a) and Title 28, United States Code, Section 2461(c).

2. Upon conviction of the offense in violation of Title 26, United States Code,
Sections 5861(d) set forth in Count Two of this Indictment, the Defendant, JASON D’JUAN
GARFIELD, shall forfeit to the United States pursuant to Title 26, United States Code, Section
5872(a) and Title 28, United States Code, Section 2461(c), any firearms involved in the
commission of the offenses, including, but not limited to a metal cylindrical device, black in color

with no markings seized from JASON D’JUAN GARFIELD’s residence on or about March 12,

2020.
3. If any of the property described above, as a result of any act or omission of the
Defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).
All pursuant to 26 U.S.C. § 5872(a) and 28 U.S.C. § 2461(c).

A True Bill. DAVID CLAY FOWLKES
ACTING UNITED STATES ATTORNEY

/s/ Grand Jury Foreperson sy} len Sharir Alu SAC

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